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 1                                                                     The Honorable Thomas S. Zilly

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 7                                   UNITED STATES DISTRICT COURT
 8                                WESTERN DISTRICT OF WASHINGTON
 9                                             AT SEATTLE
10 STRIKE 3 HOLDINGS, LLC, a Delaware                     Case No.: 2:17-cv-01731-TSZ
   corporation,
11                                                        JOINT STATUS REPORT
                     Plaintiff,
12
   vs.
13
   JOHN DOE subscriber assigned IP address
14 73.225.38.130,
15                             Defendant.
16
17           Counsel for Plaintiff Strike 3 Holdings, LLC (“Plaintiff”) and counsel for Defendant
18 John Doe subscriber assigned IP address 73.225.38.130 (“Defendant”) hereby submit this
19 JOINT STATUS REPORT pursuant to the Honorable Judge Zilly’s Order (Docket # 58) in the
20 above action. The parties incorporate by reference their previous Joint Status Report and adopt
21 it in full unless any provisions of it are contradicted by this present Joint Status Report.
22 1.        Proposed Date For Trial
23           Plaintiff: October 7, 2019.
24           Defendant: December 9, 2019
25 2.        Proposed Deadlines for Completing Discovery and Filing Dispositive Motions
26           Plaintiff Discovery Cutoff: June 7, 2019.
27           Defendant Fact Discovery Cutoff: September 10, 2019
28           Defendant Expert Discovery Cutoff: October 8, 2019

      JOINT STATUS REPORT AND DISCOVERY
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 1
             Plaintiff: Dispositive Motion Deadline: July 12, 2019
 2
             Defendant’s Comment: Defendant has not received any document production. In the
 3
     event that documents are not produced or there is extensive law and motion, these dates will
 4
     need to be adjusted. On the issue of infringement, Defendant will file a motion for judgment
 5
     on the pleadings.
 6
             Plaintiff’s Comment: Since Defendant served his requests for production, this case has
 7
     fundamentally changed—certain claims and issues remain relevant while others have been
 8
     dismissed or are moot. Accordingly, many of Defendant’s requests for production are irrelevant
 9
     and moot. Notwithstanding any objections, Plaintiff intends to substantively respond to
10
     Defendant’s requests for production that remain relevant and which it can produce, consistent
11
     with the Federal Rules, in a timely manner.
12
     3.      Date By Which The Parties Can Be Prepared To Engage in Mediation
13
             Plaintiff: April 8, 2019.
14
             Defendant: January 4, 2019.
15
             Defendant’s Comment: Defendant requests a settlement conference before a magistrate
16
     or District Court Judge with all parties present. An early settlement conference should facilitate
17
     resolution.
18
             Plaintiff’s Comment: Plaintiff does not believe a settlement conference will be fruitful
19
     until Defendant substantively responds to certain discovery requests that Plaintiff intends to
20
     propound immediately. In the event Defendant fully responds to Plaintiff’s discovery requests,
21
     Plaintiff will consider an earlier date for a settlement conference.
22
     4.      Declaration of Non-Infringement Regarding Non-Infringement Counterclaim
23
             Plaintiff:
24
             Plaintiff has proposed to Defendant that Plaintiff will dismiss Defendant with prejudice
25
     (the previously-filed dismissal was without prejudice) and will provide Defendant with a
26
     covenant not to sue Defendant, in exchange for Defendant dismissing with prejudice his
27
     counterclaims for declaration of non-infringement and abuse of process, and the parties will
28
     request a briefing and hearing schedule be set by the Court for the parties to file their respective
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 1
     motions for attorneys’ fees and costs. Defendant has indicated he will respond shortly to this
 2
     proposal. In the event Defendant rejects Plaintiff’s proposal, Plaintiff will move for either
 3
     summary judgment or judgment on the pleadings on Defendant’s abuse of process
 4
     counterclaims.
 5
             Defendant:
 6
             Defendant will enter into a stipulation and order for entry of partial judgment of non-
 7
     infringement under FRCP 54(b) with a request that briefing for a motion for attorney fees to be
 8
     filed 45 days after entry of partial judgment. This will streamline the case down to a single claim
 9
     of Abuse of Process under Washington Law. Absent a stipulation, Defendant will bring a motion
10
     for judgment on the pleadings on the issue of infringement. See TouchPoint Commc'ns, LLC v.
11
     Dentalfone, LLC 3:15-cv-05240-JRC (W.D. Wash., 2016), Order entered on February 10, 2016.
12
     5.      Are There Any Issues Left In This Matter To Be Determined Other Than
13           Attorneys’ Fees and Costs
14           Plaintiff:
15           As set forth above, if Plaintiff’s proposal is accepted, there would be no remaining
16 issues in this case other than determining whether either party is entitled to an award of
17 attorneys’ fees and costs. If not accepted, then the remaining issues would be Defendant’s
18 counterclaims and whether additional parties might be joined in this action, such as Defendant’s
19 son.
20           Defendant:
21           The Abuse of Process claim still exists. If there is this sole claim remaining, then
22 Defendant expects a three day jury trial or two day bench trial.
23 6.        Should The Court Forego Entering A Schedule Order And Set Dates for Attorneys’
24           Fees Motions.

25           Plaintiff:

26           As set forth above, if Plaintiff’s proposal is accepted by Defendant, then the Court

27 should do exactly that—not enter a scheduling order and instead set a briefing schedule
28 regarding attorneys’ fees and costs.

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 1
             Defendant:
 2
             Defendant has sent Plaintiff two settlement offers that have lapsed, therefore absent a
 3
     stipulation from Plaintiff on the issue of infringement, a scheduling order should be set.
 4
 5           DATED this 21st day of November, 2018.
 6                                           FOX ROTHSCHILD LLP
 7
 8                                             s/ Bryan J. Case
                                             Bryan J. Case, WSBA #41781
 9                                           Lincoln D. Bandlow, admitted Pro Hac Vice
                                             (CSBA #170449)
10
                                             Attorneys for Plaintiff
11
12                                           EDMONDSON IP LAW

13
                                               s/ J. Curtis Edmondson
14                                           J. Curtis Edmondson, WSBA #43795
15                                           Attorneys for Defendant
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 1
                                         CERTIFICATE OF SERVICE
 2
             I hereby certify that on November 21, 2018, I electronically filed the foregoing with the
 3
     Clerk of the Court using the CM/ECF system which will send notification of such filing to the
 4
     following persons:
 5
 6            J. Curtis Edmondson, WSBA #43795                         Via CM/ECF
              399 NE John Olsen Avenue                                 Via U.S. Mail
 7            Hillsboro, Oregon 97124                                  Via Messenger Delivery
              Telephone: (503) 336-3749                                Via Overnight Courier
 8            Email: jcedmondson@edmolaw.com                           Via Facsimile
 9
10           DATED this 21st day of November, 2018.
11
12                                                Courtney R. Tracy
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